          Case 1:19-cr-00125-ABJ Document 97 Filed 08/15/19 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

               v.                                      Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                    Defendant.


                    DEFENDANT’S SUPPLEMENTAL MEMORANDUM
                     REGARDING LITERAL TRUTH INSTRUCTION

       In United States v. Safavian, 528 F.3d 957 (D.C. Cir. 2008), the Court of Appeals

recognized that “literal truth would [be] a complete defense” to “charged violations of

§ 1001(a)(1).” Id. at 967. The literal truth defense is relevant as a concept only when a charge is

based on statements as opposed to omissions. The Safavian decision discussed literal truth in the

context of a concealment scheme offense only because the defendant had failed to preserve the

argument that a false statement alone cannot be a trick, scheme, or device, id. at 967 n.12, and so

the court was in the odd position of treating a false statement as though it amounted to a

concealment scheme. Safavian does stand for the proposition, however, that to the extent an

indictment charges a falsification scheme under § 1001(a)(1), literal truth is a complete defense.

Id. at 967. The Indictment in this case does not charge a falsification scheme because it alleges

that material facts were concealed, Indictment, ¶ 63, but does not identify any material facts that

were falsified. To the extent the Court disagrees, it should instruct the jury that literal truth is a

complete defense to falsification.

       The concept of literal truth does have a role to play in the context of a concealment

scheme: it dictates that a literally true statement to a government official, even if misleading,
           Case 1:19-cr-00125-ABJ Document 97 Filed 08/15/19 Page 2 of 4



cannot be the source for a duty to disclose additional information so as to satisfy the “trick,

scheme, or device” element. As this Court has recognized, making a statement to a government

official that is literally true but misleading cannot, on its own, violate § 1001. In the Manafort

case, in rejecting a multiplicity challenge to an indictment that charged the same conduct under

both 22 U.S.C. § 618(a)(2) and 18 U.S.C. § 1001, this Court contrasted the elements of those two

offenses as follows:

         The FARA provision also covers statements that are misleading due to a willful
         omission of material fact, 22 U.S.C. § 618(a)(2), but a willful omission of a
         material fact that renders a statement misleading would not constitute a violation
         of section 1001 as well if the statement were literally true.

United States v. Manafort, 313 F. Supp. 3d 311, 315 (D.D.C. 2018) (citing Safavian and United

States v. Milton, 8 F.3d 39, 45 (D.C. Cir. 1993)). Unlike the proscriptions of § 618(a)(2), which

criminalizes the omission of facts that would be necessary to make affirmative statements not

misleading, the mere fact of making a statement to a government official does not generate a

duty under § 1001 to disclose additional information if the statement is literally true but

misleading.

         Consider several examples of answers to questions by government officials that are

literally true but arguably misleading:

         A non-citizen resident of the United States returns from Mexico, and at the border, a
          border patrol agent asks if she is a citizen. She replies, “It’s good to be back home.”

         A factory owner knows that her factory is unsafe. An OSHA investigator visits the
          factory and asks the owner if she is aware of any safety risks onsite. She answers: “We
          haven’t had any employee safety complaints in the last 20 years.”

         A motorist knows she is driving 75 MPH on a stretch of highway where the speed limit
          is 65 MPH, but she is driving at about the same speed as the cars around her. A patrol
          officer (who, let’s assume, works for a federal agency) pulls her over and asks: “Do you
          know how fast you were driving?” She answers: “I thought I was driving at about the
          speed of the road.”


                                                 2
          Case 1:19-cr-00125-ABJ Document 97 Filed 08/15/19 Page 3 of 4



Providing a literally true response to a government official’s specific question cannot support a

concealment scheme, even if the answer is arguably misleading in light of the clear intent of the

official’s question. The mere fact that additional information would be necessary to make the

statement not misleading does not generate a duty to provide the additional information; there

must be some independent source for a duty to disclose.

       Accordingly, as set forth in Defendant’s proposed jury instruction for Count One,

“making a statement while omitting other information is not a trick, scheme or device if the

statement the defendant made is literally true.” ECF 72-2 at 14.

Dated: August 15, 2019                              Respectfully submitted,


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                                                3
      Case 1:19-cr-00125-ABJ Document 97 Filed 08/15/19 Page 4 of 4



                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 15, 2019, the foregoing was served on

counsel of record via the Court’s CM/ECF service.


                                                       /s/ Ezra B. Marcus
                                                    Ezra B. Marcus
